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Dr, WORTH EVERETT IW.

CaN SHERRY CHATST¢ option;
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aD. STUART ANDREWS &¢.D.

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supplies along with a néw supply order form IF NEEDED. Supplies can picked up when your
door opens the next mornigg. Adams, Baker, and Rainier delivery dgys are all the same and;
specified below. Please check\which items you would like along with/how many of each. Items h
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